 AO 458 (Rev. 06/09) Appearance of Counsel


                                         UNITED STATES DISTRICT COURT
                                                                             for the
                                                            Eastern District
                                                         __________  DistrictofofCalifornia
                                                                                  __________


Jennifer Carruth, individually and on behalf of all others similarly situated,   )
                                 Plaintiff                                       )
                                    v.                                           )     Case No.    2:24-cv-02484-DAD-SCR
KD Creatives, Inc. d/b/a Big Little Feelings                                     )
                               Defendant                                         )

                                                           APPEARANCE OF COUNSEL

 To:        The clerk of court and all parties of record

            I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant, KD Creatives, Inc. d/b/a Big Little Feelings                                                                          .


 Date: December 10, 2024
                                                                                                          Attorney’s signature

                                                                                        Noel S. Cohen (SBN 219645)
                                                                                                     Printed name and bar number



                                                                                       Polsinelli, LLP
                                                                                       2049 Century Park East, Suite 2900, Los Angeles, CA 90067
                                                                                                                Address


                                                                                        ncohen@polsinelli.com
                                                                                                            E-mail address

                                                                                        (310) 556-1801
                                                                                                           Telephone number

                                                                                       (310) 556-1802
                                                                                                              FAX number
